                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     at WINCHESTER


UNITED STATES OF AMERICA                      )     MATTICE/CARTER
                                              )
       v.                                     )     CASE NO. 4:09-CR-49
                                              )
WILLIAM MICHAEL STEELE                        )


                                            ORDER

       On February 25, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

included offense in Count One of the Indictment, conspiracy to manufacture, distribute, and

possess with the intent to distribute five grams or more of methamphetamine actual, a Schedule

II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B), in exchange for the

undertakings made by the government in the written plea agreement; (b) the Court adjudicate

Defendant guilty of the charges set forth in the lesser included offense in Count One of the

Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter (Doc.

93). Neither party filed an objection within the given fourteen days. After reviewing the record,

the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation pursuant to 28

U.S.C. § 636(b)(1) and ORDERS as follows:

       (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

Indictment, conspiracy to manufacture, distribute, and possess with the intent to distribute five

grams or more of methamphetamine actual, a Schedule II controlled substance, in violation of 21



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U.S.C. §§ 846 and 841(b)(1)(B), in exchange for the undertakings made by the government in the

written plea agreement, is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

offense in Count One of the Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and

       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

May 24, 2010, at 9:00 am.

       SO ORDERED.

       ENTER:


                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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